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FEDERAL ASSISTANCE MANAGEMENT ADVISORY NUMBER 2025-05 (A)

SUBJECT: Amended Guidance on Pause of Foreign Assistance-funded Federal Assistance
Awards

 1. Scope:

This policy applies to all foreign assistance-funded federal assistance awards.

 2. Background and Purpose:

On February 13, 2025, the Court hearing the case of AIDS Vaccine Coalition v. U.S. Department
of State and Global Health Council v. Trump entered a temporary restraining order (TRO)
against the Department of State, USAID, and OMB. In connection with the litigation, Grants
Officers (GOs) must not take further action to effectuate terminations or suspensions
(including those pursuant to previously issued guidance) at this time. Notification of the TRO
was provided via a SAM.Gov notice posted on February 14, 2025. notice posted on February
14, 2025.

 3. Policy:

GOs must cease further action to pause any new obligations or disbursements of foreign
assistance funds (including those pursuant to previously issued guidance) at this time.
However, GOs may continue any actions under any exceptions or waivers granted by the
Secretary of State, including to lift a previously issued suspension, or to certify the
disbursement of a payment.

 4. Authority:

 Global Acquisition (A/GA) prescribes policies, regulations, and procedures for the award
 and administration of Federal financial assistance agreements.

 5. Effective Date

 This Federal Assistance Management Advisory is eﬀective as of February 17, 2025.
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6. Questions:

Please send questions regarding this policy via e-mail to aopefagrantspolicy@state.gov,
or refer to the A/GA/APD/FA/FAPD SharePoint at https://usdos.sharepoint.com/sites/A-
OPE/FA/SitePages/Home.aspx for additional policy resources, training materials, useful
forms, and points of contact.

If payment\disbursement questions come about as a result of this pause, please reach out to
CGFS\FAFM at FAFM@state.gov.




Sharon D. James
Managing Director, Acquisitions Policy Directorate
U.S. Department of State


                                                         Issuance Date: February 17, 2025
